     Case: 20-35752, 07/11/2023, ID: 12753341, DktEntry: 101, Page 1 of 6




                        Nos. 20-35752, 20-35881


        IN THE UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

         GLORIA JOHNSON; JOHN LOGAN, individuals,
      on behalf of themselves and all others similarly situated,

                                                         Plaintiffs-Appellees,

                                     v.

                       CITY OF GRANTS PASS,

                                                        Defendant-Appellant.

         On Appeal from the United States District Court
                     for the District of Oregon
    Case No. 1:18-cv-01823-CL | The Honorable Mark D. Clarke


 DEFENDANT-APPELLANT’S MOTION TO STAY MANDATE


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       Case: 20-35752, 07/11/2023, ID: 12753341, DktEntry: 101, Page 2 of 6




                     MOTION TO STAY MANDATE

     Under Federal Rule of Appellate Procedure 41(d)(1), Defendant-

Appellant City of Grants Pass respectfully moves this Court to stay

issuance of the mandate pending the filing of a timely petition for a writ

of certiorari and its disposition by the Supreme Court.

     This Court may stay the mandate when a petition for certiorari

“would present a substantial question and . . . there is good cause for a

stay.” Fed. R. App. P. 41(d)(1). “No exceptional circumstances need be

shown to justify a stay.” Bryant v. Ford Motor Co., 886 F.2d 1526, 1528

(9th Cir. 1989). On the contrary, a stay may be granted so long as the

petition for a writ of certiorari would be neither “frivolous” nor “filed

merely for delay.” 9th Cir. R. 41-1. The consequence is that it “is often

the case” that “the appellate mandate [is] stayed while [a party] s[eeks]

certiorari from the Supreme Court.” United States v. Pete, 525 F.3d 844,

850 (9th Cir. 2008). This case meets both Rule 41(d) requirements to stay

the mandate pending a petition for certiorari.

     First, the City’s petition will present a substantial question:

whether this Court correctly interpreted the Eighth Amendment in

Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019), and the decision



                                        1
       Case: 20-35752, 07/11/2023, ID: 12753341, DktEntry: 101, Page 3 of 6




here. The panel dissent urged that “both Martin and today’s decision

should be overturned or overruled at the earliest opportunity, either by

this court sitting en banc or by the U.S. Supreme Court.” Amended Opn.

at 92 (Collins, J., dissenting). Falling one vote short of heeding that call,

thirteen active judges and four senior judges—across five separate

writings—favored en banc rehearing in this case.                    Id. at 113

(O’Scannlain, respecting denial of rehearing en banc); id. at 130 (Graber,

J., respecting denial of rehearing en banc); id. at 132 (M. Smith, J.,

dissenting from denial of rehearing en banc); id. at 150 (Collins, J.,

dissenting from denial of rehearing en banc); id. at 154 (Bress, J.,

dissenting from denial of rehearing en banc).

     The question presented will be as substantial before the Supreme

Court as it was before this Court. See S.Ct. R. 10 (setting forth criteria

for certiorari). To start, there is a substantial dispute over the proper

interpretation of the Supreme Court’s fractured decision in Powell v.

Texas, 392 U.S. 514 (1968). Compare Amended Opn. at 47–51 with id. at

90–91 (Collins, J., dissenting), id. at 123–26 (O’Scannlain, J., respecting

denial of rehearing en banc), and id. at 137–38 (M. Smith, J., dissenting

from denial of rehearing en banc). There is substantial reason to doubt


                                        2
       Case: 20-35752, 07/11/2023, ID: 12753341, DktEntry: 101, Page 4 of 6




that the text, history, or tradition of the Eighth Amendment could

support Martin and this decision if Supreme Court precedent does not.

See id. at 118–23 (O’Scannlain, J., respecting denial of rehearing en

banc). There is substantial divergence between this Court and other

“federal circuit [and] state supreme court[s]” on the application of the

Eighth Amendment to public camping. Id. at 124–25. And there is no

dispute that, however the question presented should be resolved, “it is

crucial” to “get it right” given the exceptional importance of the

homelessness crisis.     Id. at 131–32 (Graber, J., respecting denial of

rehearing en banc).

     Second, there is good cause to stay the mandate pending the

disposition of the City’s petition. Fed. R. App. P. 41(d)(1). This Court

remanded this case to the district court to decide three issues: (i) whether

to substitute a new class representative to raise a challenge to another

ordinance, Amended Op. at 33; (ii) how to modify the existing injunction

to account for this Court’s ruling on the camping ordinance, id. at 54; and

(iii) whether to modify the existing injunction as to the park exclusion

ordinance, id. at 54 n.36. This Court should preserve the status quo while

the City seeks further review in the Supreme Court—an approach that


                                        3
       Case: 20-35752, 07/11/2023, ID: 12753341, DktEntry: 101, Page 5 of 6




will protect the parties from the time, cost, and uncertainty of litigating

the same basic issue in two forums at the same time. Cf. Coinbase, Inc.

v. Bielski, 599 U.S. ___, 2023 WL 4138983, at *4 (2023) (reasoning

similarly for stays pending appeal). The district court’s injunction will

remain in place pending the disposition of the City’s forthcoming petition

for certiorari and, if the Supreme Court grants review, pending its

decision.

     Plaintiffs do not oppose this motion to stay the mandate on the

understanding that their deadline to seek attorney’s fees will be stayed

or extended. The City has no objection to an extension of the deadline

under Circuit Rule 39-1.6.



Dated: July 11, 2023                    Respectfully submitted,


                                        s/ Theane Evangelis
                                        Theane Evangelis

                                         Attorneys for Defendant-Appellant
                                         City of Grants Pass




                                        4
       Case: 20-35752, 07/11/2023, ID: 12753341, DktEntry: 101, Page 6 of 6




                   CERTIFICATE OF COMPLIANCE

     This motion complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(A) and the length-limit limitation of

Circuit Rule 27-1(1)(d) because it contains 761 words and is 4 pages,

excluding the parts of the motion exempted by Federal Rule of Appellate

Procedure 32(f). This motion complies with the typeface requirements of

Rule 32(a)(5) and the type-style requirements of Rule 32(a)(6) because it

has been prepared in 14-point New Century Schoolbook type.



Dated: July 11, 2023                    s/ Theane Evangelis
                                        Theane Evangelis




                                        5
